Case 2:16-0¢

 

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IN THE GENERAL SESSIONS COURT OF TENNESSEE

FOR THE 25TH JUDICIAL CIRCUIT AT COVINGTON

 

STATE OF TENNESSEE,
Plaintiff,

VS. NO. l4-CR-314

MICHAEL WAYNE PARSONS,

*» »* *» ** *

Defendant.

 

WHEREFORE, BE IT REMEMBERED that the
above-styled cause came on to be heard on this the
llth day of February, 2016, at l:OO o'clock p.m.,
before the Honorable William Peeler, Judge,
presiding, when and where the following
proceedings were had:

APPEARANCES

FOr the State. . . . . . . . WALTER FREELAND, ESQ.

SALLY A. WORKMAN
Court Reporter
8370 Brunswick Road
Millington, Tennessee 38053
(901) 829-2771
sallysteno@gmail.com

 

 

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THE COURT: Mr. Parsons, have a seat,
sir.

Now this is in the matter of State of
Tennessee versus Michael Wayne Parsons.

Mr. Parsons is charged on warrant No. l4-CR-314
with being a convicted felon in possession of a
firearm. It's Tennessee Code Annotated
39-17-1307, subsections e and f.

He was charged under that warrant in the
General Sessions Court, and then as a result of
that new charge, he had his parole revoked and he
was subsequently indicted by the Tipton County
Grand Jury while he was actually in custody at the
Tennessee Department of Correction as a result of
his parole violation.

Mr. Parsons filed a motion for a
preliminary hearing while he was incarcerated and
Judge Walker has reviewed that request by
Mr. Parsons -- that was done pursuant to Rule 5 --
and Judge Walker remanded this case back to the
General Sessions Court to conduct the preliminary
hearing that Mr. Parsons demanded.

I have advised Mr. Parsons of his rights,

and on at least three separate occasions I brought

 

 

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him in front of me and asked him if he had an
attorney, if he wished to have an attorney
appointed by the Court, or if he wished to
represent himself. And I've never been able to
get an answer thus far from Mr. Parsons as to
whether or not he wanted an attorney, had an
attorney, or wished to represent himself.

So pursuant to this rule, the Court is
required, within certain time constraints, to go
ahead and provide Mr. Parsons with a preliminary
hearing. It's not a trial, it's not a
determination of guilt or innocence. It's simply
a probable cause hearing, and because 1 cannot get
an answer as to whether or not Mr. Parsons wants
an attorney or intends to represent himself, the
Court's decided that it's just going to move
forward and conduct this preliminary hearing,

I reviewed the Circuit Court file and it
-appears that since March 2015 Judge Walker -- at
least on a monthly basis -- Judge Walker has been
making the same inquiry of Mr. Parsons as to
whether or not he had an attorney, wished to have
a court-appointed attorney, or wished to represent

himself, and the record indicates that basically

 

 

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Judge Walker has gotten the same answers that this
Court has gotten, and that is you can never get an
answer.

Mr. Parsons always wants to turn the
tables and ask the Court questions when what the
Court is trying to do is provide Mr. Parsons with
counsel, let his counsel answer his questions, and
we can never get past that.

In fact, I couldn't even get past
Mr. Parsons properly identifying himself before
the Court.

So anyway, the Court has decided that
pursuant to Judge Walker's order from the trial
court, I'm going to move forward with conducting
the preliminary hearing today and I have to assume
that Mr. Parsons does not wish to be represented.

Now, Mr. Parsons, I'm going to ask you
again before I start with this, do you have an
attorney?

(No response.)

THE COURT: Mr. Parsons? Do you have an
attorney, sir?

THE DEFENDANT: I'm Michael Parsons, not

the corporation or trust, which you're pursuing.

 

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You do not have jurisdiction. Judge Walker did
not -- none of what you said earlier is true.

First of all, I have served this Court --

THE COURT: I got your notices --

THE WITNESS: I'm not an 8-USC 1401-A
statutory U. S. citizen, I am not that citizen.
This Court does not have jurisdiction. You're
operating administrative court,

What you said earlier about this motion
to dismiss was a lie. This is a motion to dismiss
the charge in the indictment; this is not a demand
for a preliminary hearing. Read it. On page 4 --

THE COURT: Judge Walker made that
decision, Mr. Parsons,

THE DEFENDANT: You're misquoting the
motion. He did not have the authority. I did not
give him consent to do any ruling on this
pertaining to a motion for a preliminary hearing.

What I cited was that this is to dismiss
the charge on page 3. The charge must now be
dismissed by the authority of Tennessee --

THE COURT: Judge Walker did not do that.
He did not --

THE DEFENDANT: This is my motion. He

 

 

 

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can only rule on my motion.

THE COURT: He denied it. He denied it.

THE DEFENDANT: NO, he did nOt. The
record does not show that.

THE COURT: He denied the motion.

THE DEFENDANT: You don't have proof of
that. Put forth the proof that he denied it.

THE COURT: I'm not going to put forth
any proof other than what we're going to do today,
Mr. Parsons, and we're getting ready to do it.

THE DEFENDANT: You don't have
jurisdiction.

THE COURT: The State's -- all right.
Here's what we're going to do. You're going to
sit there and be quiet and the State is going to
move forward with providing the Court with what is
necessary to establish probable cause, if they can
do that. If they can not do that, then the charge
will be dismissed. But that's all we're doing
today. I'm not hearing your argument.

THE DEFENDANT: What jurisdiction is this
Court -- I've asked you multiple times, what
jurisdiction is this court?

THE COURT: And l told you I'm not

 

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answering your question. I'll appoint an attorney
for you --

THE DEFENDANT: No, Sir. You have to
tell me, is this an administrative --

THE COURT: I don't have to tell you
anything. I don't have to tell you anything.

THE DEFENDANT: 1 demand this be moved to

THE COURT: Mr. Parsons, I'm going to
tell you this. You can sit there quietly and you
can listen to the court proceedings, but if you're
going to continue down this road of challenging
the jurisdiction of the Court, and you're going to
disrupt my hearing, I'm going to have you excluded
from the hearing and I'll go ahead and decide the
case without you being present.

So the record will reflect that once
again, for at least the fourth time, I have asked
Mr. Parsons if he wanted a court-appointed
attorney, and I've also asked him if he wishes to
represent himself, and he has not responded for
the fourth time, All Mr. Parsons wants to do is
talk about jurisdiction, and the Court's not going

to deal with that.

 

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THE DEFENDANT: You can't proceed without
jurisdiction.

THE COURT: Watch us. We're getting
ready to --

THE DEFENDANT: That makes this a
criminal court. You're --

THE COURT: It is a criminal court,
you're charged with a criminal offense, and you
are a convicted felon and you're charged with
being in possession of firearms as a convicted
felon, and that's what the Court's going to hear.
Now --`

THE DEFENDANT: The international supreme
court overruled that. I'm no longer a convicted
felon. That charge was overturned by the
international supreme court. I've got the
document here to certify you. I've also --

THE COURT: By some court in British
Columbia that represents some --

THE DEFENDANT: It is superior to the
United States Supreme Court. That means it's
superior to you. I'm a Chilcotin native; right
here for you to read, sir.

THE COURT: I've got the entire file.

 

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THE DEFENDANT: I'm also an associate
justice. You do not have jurisdiction over me,
I'm an internationally protected person. I demand
to be released immediately.

THE COURT: The trier told --

THE DEFENDANT: This is an international

THE COURT: -- the Court, which I deem to
be really a threat and considered to turn it over
to Homeland Security. They, in their
correspondence with the Court, said that if I did
not release you, they were declaring war on this
Court.

THE DEFENDANT: That's not what it says.
That's a lie. That's not what it says. It says
that Tennessee is declaring war on them. You need
to read the document and quit lying about what it
said. You're committing fraud upon the Court.

You need to also remove him from the
bench right now. He is a fraud --

THE COURT: Mr. Parsons, here's what it
says. It says: "Anything short will be deemed by
the native people as a declaration of war on your
part.“ I'm reading that verbatim.

THE DEFENDANT: Your part. You're

 

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declaring war on the native people of the
Chilcotin nation.

THE COURT: Well, they're declaring war
on me, is what it says.

All right. Well, Mr. Parsons, enough
arguing.

General, I'm going to ask the State to go
ahead and proceed. The warrant sets out an
incident of February ll, 2014, and I've already
read Mr. Parsons at one of the previous hearings,
which has been recorded on audio and video; I read
him all of the factual allegations that were made
against him -- and maybe I ought to just read it
again just so it's clear in the record.

The warrant alleges: On February ll the
Tipton County Sheriffs Department, Tipton County
Animal Control and Dr. Aubrey Haley, DVM, and
Michael Parsons' parole officer, Danny Johnson,
went to 444 Hughes Road in regards to an animal
cruelty complaint from PETA and to conduct a
compliance check to determine if Michael Parsons
was in compliance with the conditions of his
parole.

The animals were visually examined by

 

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Dr. Haley and appeared to be in satisfactory
health and have adequate shelter.

Parole Officer Danny Johnson and
Investigator Michael Green conducted a search of
Parsons' residence. Inside the residence
Investigator Green located two camouflage-type
backpacks. Inside the two packs were
approximately 865 rounds of different caliber
ammunition.

Investigator Green then asked Patricia
Parsons if there were any guns in the house and
she stated there was a rifle in the bedroom. She

then took me back to their bedroom and pointed to

a closet with no door. I located a Remington 700
ADL .308 caliber -~ it's got the serial number
listed -- rifle.

Patricia Parsons stated She did not
initially tell me the gun was there because she
wanted to protect her husband.

Investigators then continued to search in
what Patricia called Mike's office. Investigators
located two AR-lS Beta magazines, a Tactical
Industries .22 caliber conversion kit for an AR-15

and a .22 caliber magazine for an AR-15.

 

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Investigator Green spoke with Patricia

Parsons and asked her again if there were any
other weapons in the house. `She stated she had

a .357 pistol in the same bedroom as the rifle.
She stated it belonged to her. I located a Smith

& Wesson model 686 -- and it has the serial number

loaded with six rounds of ammunition in

a shoe box approximately two feet from the side of

Michael Parsons was arrested for being a

convicted felon in possession of a firearm and

transported to the jail.

That's the charge against Mr. Parsons,
General Freeland, I'll ask you to
This is a preliminary hearing. The
THE DEFENDANT: Are we following the

court? The rules of court, do they

THE COURT: The Court has made --

THE DEFENDANT: I object to your Honor

reading something into the record that no witness

has taken an oath to attest to.

THE COURT: Your objection is noted,

 

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Mr. Parsons, Those are the allegations against
you, and that's what the Court is going to decide
if there's probable cause.

Go ahead, General, let's move on.

MR. FREELAND: The State will call Parole
Officer Danny Johnson.

THE DEFENDANT: May 1 be entitled to have
my information that was brought for me to
prepare -- since you've had me locked up for a
month and 1've had no access to legal counsel, may
1 at least have access to my notes?

THE COURT: Mr. Parsons, you will not
acknowledge to me that you are representing
yourself. You won't tell me if you're --

THE DEFENDANT: I'm not a corporate
fiction; I'm a live man.

THE COURT: 1 understand.

THE DEFENDANT: 1 have rights.

THE COURT: You made it very clear you're
a live man, and that you're not Michael Wayne
Parsons, and that's been --

THE DEFENDANT: You're coming after a
corporate fiction.

THE COURT: What is it you're --

 

 

 

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THE DEFENDANT: Are you not the trustee
of the Michael Parsons trust?
THE COURT: Mr. Parsons, I'm not going to
answer your questions.
THE DEFENDANT: Where's the clerk? The
clerk would be the administrator --
THE COURT: All right, all right. Move
on, General. Let's hear from the Officer.
EDWARD DANNY JOHNSON,
the said witness, having been first duly sworn, was
examined and testified as follows:
DIRECT EXAMINATION
BY MR. FREELAND:
Q State your name, please.
A I'm Edward Danny Johnson, I'm a Parole Officer
with the State of Tennessee out of the Jackson Parole
Office.
Q How long have you been a parole officer for the
State of Tennessee?
A Approximately seven years, sir.
Q So you would have been in that capacity in
February 2014, correct?
A That's correct.

Q What does your office cover, geographically?

 

 

 

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A My office covers all of Tipton County, and at the
time in 2014, 1 also was parole officer in Haywood
County.

Q And among your parolees in 2014 did you have a
Michael Wayne Parsons as a parolee for aggravated assault
convictions, among other things, out of Tipton County?
Yes, sir, 1 was his parole officer,

Had you met with him prior to February 11, 2014?
Had 1 done what, sir.

Had you met with Mr. Parsons?

Oh, yes, sir, numerous times.

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Can you identify the Michael Wayne Parsons that
you had as a parolee in February 2014?

A Yes, sir, that's him seated right there
(indicating).

MR. FREELAND: The record will reflect
that the witness has identified the gentleman in
the orange jumpsuit as Michael Wayne Parsons.

Q On that date of February ll, 2014, did you have
occasion, along with others, to go to a 444 Hughes Road,
Brighton, Tennessee, address?

A Yes, sir, 1 did.

Q Is that in Tipton County?

A Yes, sir, that's Tipton County, and that's the

 

 

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address where Mr. Parsons resides.
Q 1s that the address that that gentleman at counsel
table over there gave you as his address?
A Yes, sir.
Q What was the purpose of your going to that address
at that time?
A 1 had been contacted by the Sheriff's Department

that there had been a complaint from PETA, which is
acronym for People For the Ethical Treatment of Animals,
about the animals that Mr. Parsons had on his property,
and he had numerous hybrid wolves and various animals,
and they asked if 1 would go out with them and conduct a
search and let the veterinarian go and check the animals.
That's what the initial thing was.

Plus, I'd also take that opportunity to do a home
visit while we were there since 1 had not been in his
home in sometime at that point.

Q As a parole officer, you do have a right to make
home visits with your parolees; is that correct?

A Yes, sir. Rule 8 of the Parole states that any
parolee in the State of Tennessee agrees to a search of
their home, person, vehicle, place of residence, by any
probation, parole officer, and law enforcement officer at

any time without probable cause, and also that home

 

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visits are a normal function with every parolee or
probationer that we make from time to time.

Q And you did in fact then go to that location on
Hughes Road, correct?

A Yes, sir.

Q Describe to the Court whether or not you made
entry into the property, and if so, how.

A Okay. 1 was riding in a vehicle with two deputies
from the Tipton County Sheriff's Department, 1 had
called Mr. Parsons to let him know 1 was coming to do a
home visit. He drove -- his driveway from where --
there's a short area you can come off the road. Then
there's a locked gate and it's about three-tenths of a
mile from the gate up to his house.

On that day he did drive down to the gate in an
automobile. 1 got out ~- 1 actually_had a copy of his
parole certificate in my hand with the rules and what
have you on it. He was curious about who else was in the
vehicle. Ended up introducing -- there were people with
the Sheriff's Department that 1 was with, and we needed
to come on the property and conduct a home visit and a
search.

And he denied us access, saying he did not have

the key or any way to open the gate to us.

 

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Q So you were on one side of the gate at his
property and he was on the other?
A Yes, sir. This went on for probably 10 or 15

minutes, telling him he needed to open the gate. 1 think
it even mentioned that he was going to be leaving, which
if he was leaving, he had to have a way to get the gate
open.

Eventually he tried to -- 1 think he tossed his
car keys, threw them off to one side. 1n fact, 1 think
Mr. Parsons saw some other vehicles parked on the road.
He went around the officers and was headed toward the
road, and 1 think they told him to stop and not go there.

At that point 1 think is when he tossed his keys.
His keys were recovered. One of the officers then got in
his car and they found -- 1 think there was actually a
remote that would unlock the gate and the gate was
eventually unlocked and we proceeded, myself, with the
officers, and 1 think the veterinarian that was there and
other officers did get up to the house and conduct a

search of the property, checked the animals.

Q Did you go into the house?
A Yes, sir, after they -- they did conduct a search
and the animals found -- 1 think the veterinarian found

that the animals were fine, they had adequate shelter,

 

 

 

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wasn't a problem there.
While Mr. Parsons, 1 think, was talking with other

officers, myself and 1nvestigator Green approached

Mrs. Parsons and 1 told her we needed -- 1 needed to

check the house because 1 had not been in the house in

sometime.

Q Can you see the person you're describing as

Mrs. Parsons in the courtroom?

A Yes, sir, she seated on this row in the kind of

greenish-colored top there with glasses.

Q That was the lady that you saw and was identified

to you as Mrs. Parsons, the wife of Mr. Parsons, correct?

A Yes, sir.
Q Was there anybody else in the residence?
A Not at the time. She unlocked the door for us to

go into the residence.

Q Other than law enforcement, were Mr. and Mrs.
Parsons the only ones in the residence?

A Mr. Parsons was not in the residence at the time
we went in and searched. He was around another building
speaking to officers.

Q Only Mrs. Parsons was in the residence, correct?
A 1t was myself, 1nvestigator Green, and

Mrs. Parsons.

 

 

 

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Q Describe the layout physically -- not in minute
detail -- but generally as to the size of the residence.
A 1n the entry door we went in, and off to the right
there was a room with a desk. 1 recall it had a laptop
on it. There was a lot of boxes and things, and a couple
of camouflage backpacks on the thing. 1 did -- as we

stepped in, 1 did ask Mrs. Parsons if this was Michael's
office and she said, Yes, it was, and 1 pointed at the

camouflage bags and asked her if those were his "go

bags," like, you know, if there was an Apocalypse or
something came. She said, "Yes, those are Michael's 'go
bags.'"

1nvestigator Green and 1 -- 1 think from there,

just to the left there's like the kitchen area, then you
have a hall on down left goes into the bedroom at the end
of this mobile home,

We did enter Mr. Parsons's -- what his wife
identified as his office. Began to look through the bags
that she identified as his bags, and it was in those bags
we found several hundred rounds of ammunition. A good
portion of that was that .308 ammo that would be used in
the weapon, the rifle that was later found in his
bedroom. We found in fact there were two -- 1 think a

couple of -~ 1 can't remember if it was 50- or 100-round

 

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drum-type ammo magazines that would fit an AR-type
weapon, There was a bayonet. Just a lot of different
things. There were many different calibres. 1 think
there were .22 ammunition, may have been .357 magnum. 1
know .308 -- a lot of .308 magazines.

We did find some parts and things -- we never
found an AR-type weapon, but we did find an AR conversion
kit, to convert like 223-round AR to be able to fire .22s
that somebody, if they wanted to practice but not spend a
lot of money on ammo, they could convert their regular
weapon that normally shot a 223-round shoot .22.

1 think while 1 was still in there 1nvestigator
Green asked Mrs. Parsons if there were any weapons in the
house. At that time she did say something to him about
there was a rifle in the bedroom. He went down the hall
with her and shortly thereafter came back into the
kitchen area carrying a box with a scoped AR rifle .308
caliber.

He did ask her also, 1 think a little bit later,
if there were any other weapons in there. She said there
was a pistol, and when he went back in the bedroom he did
find a loaded .357 magnum pistol in a -- 1 can't remember
if it was in a shoebox or some kind of box that was

within a couple feet of the bedside.

 

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Q Did you see 1nvestigator Green with what you
described as the handgun and the rifle?
A Yes, sir.
Q Let me, if 1 could, pass you a photograph and ask
you if you can identify -- if you recognize what that
depicts?
A This does appear to be the handgun, sir.

MR. FREELAND: Your Honor, we move to
make that photograph the next-numbered exhibit.
THE DEFENDANT: 1 object. The evidence
that's available and the evidence -- 1 do not
recognize the pictures as reliable.
THE COURT: Your objection is overruled,
Mr. Parsons. The Court will accept the photograph
in lieu of bringing this gun into the courtroom.
1t will be marked as Exhibit 1.
(Photo was marked as Exhibit 1.)
THE COURT: Go ahead, General.
BY MR. FREELAND:
Q Let me show you another photograph and ask if you
can identify what this depicts, if you can.
THE DEFENDANT: Can 1 be provided access
to see these exhibits?

THE COURT: Certainly. Now, Mr. Parsons,

 

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BY MR.

 

 

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here's the thing that troubles me, and 1'm not
going to get into arguing with you. But you have
never told me that you're representing yourself.
So as far as I'm concerned you're not
representing. You don't have hired attorney, you
don't have court-appointed attorney, and you will
not acknowledge to the Court that you want to
represent yourself. So I'm doing you a favor by
passing those documents to you, and 1‘m going to
let you look at them. You can look at them. You
asked to look at them, and there they are.

Now move on, General.

That is the -- does appear to be the weapon that

we took out of the house that day that was found in the

closet by -- well, Mrs. Parsons showed 1nvestigator Green

where it was.

MR. FREELAND: Your Honor, we move to
have that second photograph of the rifle marked.

THE COURT: That will be marked Exhibit
2, and 1'll have the Court officer show that to
Mr. Parsons.

(Photo was marked as Exhibit 2.)

FREELAND:

Do you know who holds as evidence the .357 handgun

 

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1 and the Remington .308 rifle?

2 A It's my understanding it's in the evidence room

3 here at the Tipton County Justice Center.

4 Q As a parole officer, would you ever be an evidence
5 custodian?

6 A No, sir, I'm not.

7 Q Did you see -- and looking in the backpack

8 described to you as being Mr. Parsons' backpack, did you
9 find ammunition compatible with a Remington .308 caliber
10 rifle?
11 A Yes, sir, a great deal of it.
12 Q Did you have any ammunition compatible with a .357
13 handgun?
14 A 1 believe we did. 1 can't say with absolute

15 certainty right now. 1 know the .308 rounds were there.

16 1'm not sure about the .357. The .357 was loaded when we

17 found it, though. It had rounds in it.

18 Q 1s the mere possession of the ammunition a

19 violation of parole?

20 A No, sir. That would be a violation if he was on
21 probation, 1t's not a violation to have ammunition on
22 parole, which is an extraordinary difference in the

23 rules.

24 Q But the handgun possession and the possession of

 

 

 

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the rifle led ultimately, of course, to violation of
parole; is that your understanding? `
A Yes, sir. They are -- a handgun and a long gun of
any type is a violation of parole; and of course, the
law.

MR. FREELAND: That's all 1 have.

THE COURT: Thank you, sir. You can step

down.
Do you have any other witnesses, General?
MR. FREELAND: No, sir. Your Honor.
THE DEFENDANT: Can 1 cross-examine this
THE COURT: No, sir. l
UNIDENTIFIED FEMALE: Your Honor, may 1
speak?

THE COURT: NO.

MR. FREELAND: Your Honor, 1 would like
to make as the next exhibit certified copies of
Tipton Circuit 6030 which indicate that on
November 23, 2009, Mr. Parsons was convicted of an
aggravated -- actually two counts of aggravated
assault, Counts 111 and 1V of Docket No. 6030, and
1'd like to submit that, your Honor.

THE COURT: That's the proof of

conviction of felony?

 

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MR. FREELAND: Certified copies of those
convictions out of the Circuit Court in Tipton
County.

THE COURT: All right. Now 1 thought
long and hard about this hearing and how the Court
was going to conduct it, and the Court has wide
latitude in the preliminary hearing stage. All
that is required is for the State to show that
there's probable cause. The Court is not required
to hear -- not required to hear evidence of
defense or alibi or whatever. All that the Court
is required to look at is whether there's probable
cause for the warrant to stand.

The State's put on sufficient evidence to
show the Court that there is probable cause for
the warrant to stand.

Mr. Parsons will not acknowledge to the
Court that he has an attorney, wants an attorney,
or even that he's representing himself.

So the Court is finding probable cause at
this point.

I'm concluding the hearing --

THE DEFENDANT: The State's witness

testified he didn't have -- 1 didn't have

 

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possession. He sat there and testified 1 didn't
have possession; they were locked in a locked
house. Under 39-17-1307 the exception is if the
guns are locked up. I'm not in possession. He
sat there and proved 1 didn't have possession.

THE COURT: All right. The Court
listened to the evidence. The Court finds
probable cause. The case will be bound over to
the Grand Jury.

THE DEFENDANT: The Judge is a crook.

THE COURT: Now on the issue of bond, the
Court has also thought long and hard about that.
The Court has reviewed the Circuit Court files and
the transcripts that are in the file. Mr. Parsons
was convicted of two counts of aggravated assault
and two counts of misdemeanor theft, and he
received an effective sentence of seven years out
of the Circuit Court. Evidence presented at that
time established that Mr. Parsons had threatened
his victims with serious bodily injury, he had
pointed a gun at their heads, he had threatened to
kill them, and he had counted down while he was
holding the victims at gunpoint, and then he took

the victims' property while he held them at

 

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gunpoint. All --

THE DEFENDANT: That was never alleged in
the trial. The Judge made it up to send me to
prison.

THE COURT: Also, the evidence was and
the testimony in that hearing was there had been
other altercations with neighbors, and on one
occasion he had struck a neighbor in the face and
had actually broken his nose.

After Mr. Parsons's parole was violated
on those new charges -- and he has the new charges
that are before this Court of possession of
firearms by a convicted felon.

Mr. Parsons will not acknowledge the
authority or the jurisdiction of this Court, and
in fact 1 couldn't even on the first day, get past
him identifying himself with his proper name, and
1 could not get Mr. Parsons to answer the
questions of the Court, to respond to the
questions of the Court, and it is clear --

THE DEFENDANT: The Court won't respond

tO --

THE COURT: -- he does not accept the

authority of this Court

 

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THE DEFENDANT: You don't have
jurisdiction, you don't have authority.

THE COURT: 1t continues on.

THE DEFENDANT: 1 have not consented to
give you jurisdiction.

THE COURT: He has stated his intention
to go to Canada. There have been letters --
multiple letters sent to the Court --

THE DEFENDANT: 1 will be here -- if
called upon, as 1 always have -- 1‘ve been here
every time the Court has invited me to be here.
1‘ve never not once missed a court appearance when
1‘ve been asked to appear.

THE COURT: The letters of the tribe
indicate that because of Mr. Parsons's standing in
the tribe and his appointment to associate
justice, that he has the right to freely travel
without interference, obstruction, or restraint
across borders to other countries and that he
enjoys internationally protected status and
diplomatic immunity, which creates great concern
for the Court.

THE DEFENDANT: That is the Jay Treaty

which this Court --

 

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THE COURT: 1f he were to go to Canada
under the protection of tribal law, it would be
virtually impossible for this Court to regain
jurisdiction over him.

There have been threats made by the
Chilcotin nation to this Court stating that if
Mr. Parsons is not released, that they will deem
this as a declaration of war against this Court.

Based on all of that, the Court --

THE DEFENDANT: War against the court.

THE COURT: -- believes that Mr. Parsons
is a danger to the community and a danger to
others, based on his conviction of these incidents
involving dangerous --

THE DEFENDANT: Mr. Braxton (sic) shot at
my wife and my dog twenty-nine times. 1 said
"Stop shooting."

THE COURT: Okay. All right. The Court
finds him to be a danger to others and to the
community and also to be a flight risk, and he'll
be held without bond to be presented before Judge
Walker with the court date most likely being March
14, which would be State's day,

MR. FREELAND: YeS, Sir.

 

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That concludes the matter.

Sheriff, take Mr. Parsons into custody.
This Court's through with this matter.

THE DEFENDANT: 1 would order the Court
to return the property my wife gave back to
Mrs. Parsons. That is her property.

MR. FREELAND: What property are you
asking to be returned to your wife as her
property?

THE DEFENDANT: The files that she
presented that were to be given to me that were
never given to me. That needs to go back to her.

THE COURT: 1 don't know who has those,
Mr. Parsons. 1 don't have them.

THE DEFENDANT: Did you get it baCk?

MRS. PARSONS: No.

THE DEFENDANT: These officers have her
property. They need to return it immediately.

And 1 would also ask that her physical property be

returned. Since you've got me locked up,
obviously there's no concern -- she needs
protection for herself. That's her property.

THE COURT: That's evidence. You go

ahead.

 

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MR. FREELAND: Your Honor, I'm curious as
to what physical property belongs to Mrs. Parsons.

THE COURT: Well, the guns, 1 guess is
what he's talking about. But that's evidence.

THE DEFENDANT: All these notes right
here belong to my wife.

THE COURT: Those were never presented to
the Court and 1 don't have those, So as far as
1'm, concerned, she can have them back. The
record will reflect they were never turned over to
the Judge, 1 never looked at those, so we'll
certainly just return those, undisturbed, back to
Mrs. Parsons.

That concludes the case. The Court will
stand adjourned.

(HEARING CONCLUDED)

 

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STATE OF TENNESSEE

SS C E R T 1 F I C A T E

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1, Notary Public at Large for

Sally A. Workman,
the State of Tennessee, do hereby certify that 1 reported.
in machine shorthand the foregoing hearing, STATE vs.
MICHAEL WAYNE PARSONS.

1 hereby certify that the foregoing pages were
printed under my personal supervision and that they con-
stitute a true record of the proceedings had.

1 further certify that 1 am not an attorney nor
counsel of any of the parties, nor a relative or employee
of any attorney or counsel connected with the action, nor
1 financially interested in the action,

am

Witness my hand and official seal in the State

 

of Tennessee on February 15, 2016.
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SALLY WORKMAN,
Court eporter, and

Notary Public

Commission Expires:
March 23, 2016
TN License #481

My

 

